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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF DELAWARE

 GEORGE ASSAD, Individually and On Behalf
                                     )
 of All Others Similarly Situated,   )
                                     )
                  Plaintiff,         ) Case No. 1:19-cv-02383-LPS
                                     )
      v.                             )
                                     )
 ARQULE, INC., PATRICK J. ZENNER,    )
 TIMOTHY C. BARABE, SUSAN L. KELLEY, )
 RONALD M. LINDSAY, MICHAEL D.       )
 LOBERG, WILLIAM G. MESSENGER, RAN )
 NUSSBAUM, PAOLO PUCCI, MERCK        )
 SHARP & DOHME CORP., and ARGON      )
 MERGER SUB, INC.,                   )
                                     )
                  Defendants.        )

                  PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

       PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), plaintiff hereby

voluntarily dismisses the above-captioned action (the “Action”) without prejudice. Defendants

have filed neither an answer nor a motion for summary judgment in the Action, and no class has

been certified in the Action.

 Dated: January 31, 2020                           RIGRODSKY & LONG, P.A.

                                             By: /s/ Brian D. Long
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